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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

EDWARD BRAGGS, et al.,                      )
                                            )
       Plaintiffs,                          )
                                            ) Case No. 2:14-cv-00601-MHT-GMB
v.                                          )
                                            ) District Judge Myron H. Thompson
JEFFERSON DUNN, et al.,                     )    Magistrate Judge John E. Ott
                                            ) Magistrate Judge Gray M. Borden
       Defendants.                          )

                          MOTION TO WITHDRAW

      Comes now Gary L. Willford, and submits this Notice of Withdrawal for the

Defendants, Jefferson Dunn and Ruth Naglich, in the above-styled case.

      This the 25th day of January, 2021.

                                      /s/ Gary L. Willford, Jr.
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                                      One of the Attorneys for Jefferson Dunn and
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon all attorneys

of record in this matter, including without limitation the following, by the Court’s

CM/ECF system on this the 25th day of January, 2021.


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